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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JAMIE LEE ANDREWS, as surviving               )
spouse of Micah Lee Andrews, Deceased,        )
and JAMIE LEE ANDREWS, as                     )
Administrator of the Estate of Micah Lee      )
Andrews, Deceased,                            ) Case No. 1:14-cv-3432-SCJ
                                              )
         Plaintiffs,                          )
v.                                            )
                                              )
AUTOLIV JAPAN, LTD.,                          )
                                              )
         Defendant.                           )

                 DEFENDANT AUTOLIV JAPAN, LTD.’S
         RESPONSE TO PLAINTIFF’S MOTION FOR CLARIFICATION

         On September 10, 2019, the Court granted Plaintiff Jamie Lee Andrews’s

(“Plaintiff”) Motion for Sanctions and ordered Plaintiff to submit evidence of the

attorneys’ fees she incurred in connection with “seeking sanctions, the summary

judgment briefing, and the Eleventh Circuit appeal” within ten days. Doc. No. [407]

at 21.

         Plaintiff did not submit evidence of her fees within the ten-day period as

ordered by the Court.       Nor did Plaintiff ask Defendant Autoliv Japan, Ltd.

(“Autoliv”) if it would consent to a short extension of time—which Autoliv plainly

would have done. Instead, Plaintiff filed a “Response to the Court’s 09/10/2019
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Order and Motion for Clarification” (“Motion”) asking the Court to allow her to wait

until “the conclusion of the case” to submit the required fee evidence. Doc. Nos.

[409, 410] at 4. For the reasons below, the Court should deny Plaintiff’s Motion.

      Plaintiff first argues that the Court should grant her Motion because (i) she

needs more time to determine the amount of her attorneys’ previous work that was

“caused by” Autoliv’s untimely production of documents and (ii) she cannot yet

determine the amount of her attorneys’ future work that will be “caused by”

Autoliv’s untimely production. Id. at 2. However, the Court has already identified

the specific work for which Plaintiff should be compensated—i.e., her attorneys’

prior work in connection with “seeking sanctions, the summary judgment briefing,

and the Eleventh Circuit appeal.” Doc. No. [407] at 20. The Court has never

indicated that Plaintiff is entitled to fees for future work. See id. (requiring Plaintiff

to file evidence of her attorneys’ fees “expended”). Accordingly, the causation

determination discussed in Plaintiff’s Motion is unnecessary and does not warrant

the extension she has requested.

      Plaintiff also argues that the Court should grant her Motion because her

attorneys—who are working on a contingency fee basis—have not kept time entries




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and thus need more time to submit evidence of their hours worked.1 See Doc. Nos.

[409, 410] at 2-3. But allowing Plaintiff to wait until after trial to make the required

submission will not help matters. Plaintiff’s counsel have already spent more than

a week’s time working on the submission and have concluded that there is “no

practical way to divine with certainty” the information the Court has requested. Id.

at 2. Accordingly, the likelihood that Plaintiff will be able to produce accurate

records of her attorneys’ time will only decrease—not increase—as the relevant time

periods move further into the past.

      Finally, within her Motion, Plaintiff notes her displeasure with the Court’s

sanctions ruling and suggests that an award of attorneys’ fees is actually a “win” for

Autoliv. See id. at 3 (emphasizing that an award of attorneys’ fees was a sanction

“that Plaintiff affirmatively asked not be imposed” (emphasis in original)); id. at 3

n.2. But paying thousands of dollars in attorneys’ fees is far from a “win” for a

company that maintains that it should not be held liable for the injuries at issue in



1
  While Plaintiff’s counsel may not need to keep time entries for client purposes,
courts have repeatedly recognized the need for time entries for instances such as this.
See, e.g., Ga. Dep’t of Corr. v. Couch, 759 S.E.2d 804, 816 (Ga. 2014) (“A naked
assertion that [attorneys’] fees are ‘reasonable,’ without any evidence of hours, rates,
or other indication of the value of the professional services actually rendered is
inadequate.”); see also Grace v. Ctr. of Auto Safety, 155 F.R.D. 591, 603 (E.D. Mich.
1994) (“Monetary sanctions in the form of attorneys fees are the most common
sanction imposed by federal courts.”).

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this case. Regardless, however, the Court has rendered its ruling on Plaintiff’s

Motion for Sanctions, and Plaintiff’s counsel should be required to adhere to that

ruling and bring finality to this issue so that the parties can focus on the forthcoming

bench trial, which both parties appear ready to do.

      For these reasons, Autoliv respectfully requests that the Court deny Plaintiff’s

Motion for Clarification (Doc. No. [410]) and order Plaintiff to produce the required

evidence within ten days.

      Respectfully submitted this 4th day of October, 2019.

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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rules 5.1(B) and 7.1(D), I hereby certify that the foregoing

filing complies with the applicable font and size requirements and is formatted in

Times New Roman, 14 point font.


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                         CERTIFICATE OF SERVICE

      This is to certify that on October 4, 2019, I electronically filed the foregoing
pleading with the Clerk of the Court using the CM/ECF system which will
automatically send email notification of such filing to the following attorneys of
record:

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